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 7

 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10 LAVERNE SAMPSON , individually and ) Case No.: 14 CV 1807 L DHB
     as duly appointed Administrator and   )
11 Personal Representative of the Estate of)       JOINT MOTION FOR DISMISSAL
     CHARLES SAMPSON, SR.; JA’NEY          )       OF ENTIRE ACTION WITH
12   SAMPSON, an individual; and CHARLES )         PREJUDICE
     SAMPSON, JR., an individual,          )
13                                         )       F.R.C.P. 41(a)(1)
                  Plaintiffs,              )
14         v.                              )       Hon. M. James Lorenz
                                           )
15   CITY OF EL CENTRO; JAMES              )
     THOMPSON; EL CENTRO POLICE            )
16   DEPARTMENT, by and through its Police )
     Chief, JAMES McGINLEY; and DOES 1 )
17   through 50, inclusive,                )
                                           )
18                Defendants.              )
                                           )
19

20         TO THIS HONORABLE COURT:
21         Plaintiffs LAVERNE SAMPSON, individually and as duly appointed
22 Administrator and Personal Representative of the Estate of CHARLES SAMPSON,

23 SR., JA’NEY SAMPSON and CHARLES SAMPSON, JR., and Defendants CITY

24 OF EL CENTRO, JAMES THOMPSON, CORY GUSTAFSON, RICHARD LOPEZ

25 and ASCENCION FELIX hereby jointly move for an order dismissing this case in its

26 entirety, with prejudice, each party to bear its/his/her own attorneys’ fees and costs.
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                  JOINT MOTION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
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 1        Good cause exists for the dismissal because the parties have reached a
 2 settlement.

 3                                         Respectfully submitted,
 4                                         McCORMICK MITCHELL & RASMUSSEN
 5 Dated: March 6, 2017                    /s/ Konrad M. Rasmussen
 6                                         ___________________
 7                                         John P. McCormick, Esq.
                                           Konrad M. Rasmussen, Esq.
 8                                         Nicole Barvie, Esq.
                                           Attorneys for Defendants City of El Centro,
 9                                         James Thompson, Cory Gustafson and
                                           Richard Lopez
10

11
                                           MORRIS LAW FIRM, APC
12
     Dated: March 6, 2017                  /s/Christopher S. Morris
13                                         _____________________
14                                         Christopher S. Morris, Esq.
                                           Attorneys for Plaintiffs Laverne Sampson,
15                                         individually and for the Estate of Charles
                                           Sampson, Sr. Ja’ney Sampson and Charles
16                                         Sampson, Jr.
17

18                            SIGNATURE CERTIFICATION
19        Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
20 Policies & Procedures Manual, I hereby certify that the contents of this document are

21 acceptable to Christopher Morris, counsel for Plaintiffs, and that I have obtained Mr.

22 Morris’ authorization to affix his electric signature to this document.

23 Dated: March 6, 2017                    /s/ Konrad M. Rasmussen
24
                                           ___________________
                                           John P. McCormick, Esq.
25                                         Konrad M. Rasmussen, Esq.
26                                         Nicole Barvie, Esq.
                                           Attorneys for Defendants City of El Centro,
27                                         James Thompson, Cory Gustafson,
28
                                           Richard Lopez and Ascencion Felix

                                              -2-
                  JOINT MOTION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
